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                               IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF OREGON
                                         EUGENE DIVISION

Dennis Raybould,

                                   Plaintiff,                         Case No. 6:19-cv-01364-AA

         v.                                                           DEFENDANT JPMORGAN CHASE
                                                                      BANK, NATIONAL ASSOCIATION’S
RUSHMORE LOAN MANAGEMENT                                              MOTION TO DISMISS
SERVICES, LLC;

JPMORGAN CHASE BANK, NATIONAL
ASSOCIATION, WHOSE ADDRESS IS 700
Kansas Lane, MC 8000, MONROE, LA 71203,
(ASSIGNOR),

RMAC TRUST, SERIES 2016-CTT,

U.S. BANK NATIONAL ASSOCIATION,
NOT IN ITS INDIVIDUAL CAPACITY BUT
SOLELY AS TRUSTEE FOR THE RMAC
TRUST, SERIES 2016-CTTT, whose address is
60 LIVINGSTON AVENUE, ST. PAUL, MN
55107-2292, ITS SUCCESSORS AND
ASSIGNS, (ASSIGNEE)

                                   Defendants.




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                        LOCAL RULE 7-1(A) CERTIFICATION STATEMENT
         Counsel for Defendant JPMorgan Chase Bank, N.A. (“Chase”) attempted to contact pro

se plaintiff Dennis Raybould in a good faith effort to confer regarding the subject of this motion,

as required under Local Rule 7-1. On September 11, 2019, September 12, 2019, and September

13, 2019, counsel called the phone number listed on plaintiff’s complaint, (541) 997-1311, and

all three times received a message saying that number has been disconnected or is no longer in

service. On both September 11, 2019 and September 12, 2019, counsel also emailed plaintiff at

the most recent email address counsel has for plaintiff stating the basis for the motion and asking
plaintiff to call counsel or to provide a functioning phone number so that counsel could speak

with plaintiff to confer, but counsel has received no response.

                                                 MOTION
         Chase moves under Fed. R. Civ. P. 12(b)(6) to dismiss Plaintiff’s Complaint as to Chase

with prejudice because claim and issue preclusion bar Plaintiff’s claims, and, alternatively,

because Plaintiff fails to state any plausible claim for relief against Chase.

         This motion is supported by the following memorandum, the concurrently filed Request

for Judicial Notice and Declaration of Kevin H. Kono (“Kono Decl.”) and exhibits thereto, and

the pleadings and filings in this case.

                                    MEMORANDUM OF LAW

                   I.        INTRODUCTION AND SUMMARY OF ARGUMENT
         Plaintiff has already asserted and lost the claims he attempts to re-litigate in this case.

Facing a judicial foreclosure in Oregon state court, Plaintiff asserted as a counterclaim the same

declaratory judgment claim he now brings again, and the state court dismissed Plaintiff’s

counterclaims without leave to amend. Chase later obtained summary judgment on its claim for

judicial foreclosure, determining in its favor the issues underlying Plaintiff’s claims here. On the

same day, before the dismissal of Plaintiff’s counterclaims and the grant of summary judgment

on the foreclosure claim could be reduced to judgment, Plaintiff filed a chapter 13 bankruptcy
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petition. Then, despite the state court adjudication of his claims, Plaintiff filed an adversary

proceeding in the bankruptcy court asserting the same claims. Those claims were dismissed

following the dismissal of Plaintiff’s bankruptcy (for falsely certifying that he met pre-

bankruptcy counseling requirements and for failing to meet plan requirements). Plaintiff now

brings this action, attempting to re-litigate his already-dismissed claims. The Court should grant

Chase’s motion because:

         First, Plaintiff improperly attempts to re-litigate claims and issues an Oregon state court

has rejected on the merits. The Court should thus dismiss Plaintiff’s complaint as barred by
claim and issue preclusion. Mpoyo v. Litton Electro-Optical Sys., 430 F.3d 985, 987 (9th Cir.

2005); Paulo v. Holder, 669 F.3d 911, 917 (9th Cir. 2011).

         Second, alternatively, the Court should dismiss Plaintiff’s claims with prejudice because

they are legally and factually deficient and fail to state any claim against Chase.

                                       II.       BACKGROUND
         Plaintiff has a long history of filing lawsuits asserting the same claims as the present

case—this is the fifth time Plaintiff has asserted claims arguing Chase is not entitled to foreclose

(while never disputing that he is in default on his loan). Chase summarizes Plaintiff’s litigation

history leading to the present Complaint, followed by a summary of Plaintiff’s current
allegations, as to which an Oregon state court has already ruled in Chase’s favor.

         A.        Plaintiff’s loan.
         In 2006, Plaintiff borrowed $237,600 secured by a deed of trust for the benefit of Chase

Bank USA, N.A. (“Deed of Trust”), which was recorded in Lane County. Kono Decl., Ex. 1.

Plaintiff does not dispute the existence of the Note and the Deed of Trust, their general

enforceability, or that he has defaulted under the Note and Deed of Trust.




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         B.        Plaintiff sues Chase twice seeking a declaratory judgment that Chase did not
                   have the right to foreclose.
         Plaintiff’s complaint refers to two prior cases in this Court. Compl., ¶ 47. In Case

No. 6:12-cv-01198-PA (filed in Oregon state court in 2012 and removed to this Court), Plaintiff

sued Chase, asserting claims under the FDCPA and RICO, along a with declaratory judgment

claim identical to the claim Plaintiff asserts here. Kono Decl., Ex. 2. The Court dismissed

Plaintiff’s Complaint as moot because the statutory time period to complete the nonjudicial

foreclosure on which Plaintiff based his claims had expired. Raybould v. JP Morgan Chase

Bank, N.A., No. 2013 WL 4786492 (D. Or. 2013).
         In Case No. 6:13-cv-01966-TC (filed in Oregon state court in 2013 and removed to this

Court), Plaintiff again sued Chase, again asserting FDCPA and RICO claims along with the

identical declaratory judgment claim, and claims for breach of contract, “unsafe and unsound

practices,” and violation of the breach of the covenant of good faith and fair dealing, all relating

to the earlier nonjudicial foreclosure. Kono Decl., Ex. 3. Chase again removed, and, after

motion practice and a First Amended Complaint, this Court dismissed the FDCPA claim with

prejudice and dismissed the remaining claims as moot because no foreclosure was pending.1

Raybould v. JP Morgan Chase Bank, N.A., 2014 WL 7146962 (D. Or. 2014).

         C.        Chase sues Plaintiff in Oregon state court for judicial foreclosure and
                   Plaintiff counterclaims and loses on both the counterclaims and the judicial
                   foreclosure claim.
         On June 8, 2015, Chase filed a Complaint in Oregon state court asserting a claim for

judicial foreclosure of Plaintiff’s deed of trust (the “State Court Action”).2 Chase alleged it was

the holder of the Note. Kono Decl., Ex. 6 ¶ 15. Plaintiff filed several answers and claims in the


1
  Plaintiff appealed to the Ninth Circuit, which summarily affirmed the dismissal, holding “that
the questions raised in this appeal are so insubstantial as not to require further argument.” Kono
Decl., Ex. 4.
2
 Technically, the plaintiff in the State Court Action is JPMorgan Chase Bank, National
Association, Its Successors in Interest and/or Assigns. Kono Decl., Ex. 5.

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State Court Action, culminating with the filing on May 25, 2016, of a “Second Amended

Answer, Affirmative Defenses and Amended Counterclaims and Third-Party Claims.” Plaintiff

admitted Chase had servicing rights to the loan but denied Chase was the note holder entitled to

foreclose; he asserted claims against JPMorgan Chase Bank, N.A., Chase Bank USA, N.A., and

Chase Home Finance LLC (and others not at issue here) for (1) Quiet Title; (2) Unlawful Debt

Collection; (3) Truth in Lending Act (“TILA”); (4) Civil Conspiracy (RICO); (5) Defamation;

(6) Fraud Upon the Court; (7) Declaratory Judgment; (8) Cancellation of Instrument;

(9) Replevin; (10) Unlawful Trade Practices; (11) Civil Conspiracy (state law); and (12) Breach
of Fiduciary Duty. Kono Decl., Ex. 7 ¶¶ 231-349. The declaratory judgment counterclaim

sought a declaration “declaring that there is no legal relationship between Plaintiff [Chase] and

Defendant [Raybould], and that Plaintiff has no rights to, or secured interest in, the Raybould

Defendants’ Property.” Kono Decl., Ex. 7 ¶ 328.

         Chase moved to dismiss Plaintiff’s counterclaims in the State Court Action, and the state

court entered an order granting Chase’s motion without leave to amend. Kono Decl., Ex. 8. The

State Court Action then proceeded, with Chase obtaining an order of default or limited judgment

of dismissal against all defendants other than Plaintiff and Diane Raybould (who passed away

during the pendency of the State Court Action). Kono Decl., Exs. 9-10.
         Chase also moved for summary judgment against Plaintiff, arguing it was entitled to

foreclose on the Deed of Trust because it had the right to enforce the Note. Kono Decl., Ex. 11.

Plaintiff opposed that motion, arguing Chase did not have the right to enforce the Note because

Plaintiff asserted Chase did not hold the Note. Kono Decl., Ex. 12. The state court granted

summary judgment against Plaintiff and in JPMorgan Chase Bank, N.A.’s favor on May 8, 2017.

Kono Decl., Ex. 13. Nothing remained to do in the state court except for entry of a general

judgment wrapping up the prior adjudications.




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         D.        Plaintiff files a chapter 13 bankruptcy petition to avoid entry of a final
                   judgment against him in the State Court Action.
         On the same day the state court granted summary judgment, Plaintiff filed a chapter 13

bankruptcy petition and filed a notice of bankruptcy in the State Court Action, staying that action

and preventing entry of the general judgment. In re Raybould, USDC Bankr. (Or) Case No. 17-

61464-tmr13, Dkt. No. 3. Shortly thereafter, Plaintiff commenced an adversary proceeding,

asserting the same claims Plaintiff asserted in the State Court Action. Kono Decl., Ex. 14. The

bankruptcy court dismissed the bankruptcy because plaintiff did not make required payments

under his bankruptcy plan, failed to submit required tax returns, and had certified in his petition
that he had completed required credit counseling but could only produce a post-petition

counseling certificate. In re Raybould, 2019 WL 1448015, *5-6 (B.A.P. 9th Cir. Mar. 26, 2019).

The bankruptcy court dismissed the adversary proceeding because Plaintiff’s claims were

unrelated to the bankruptcy, and the bankruptcy court declined to retain jurisdiction. Id. at *6-7.

Plaintiff appealed to the Ninth Circuit Bankruptcy Appellate Panel, which affirmed. Id. at *8.

         E.        Plaintiff files his current Complaint seeking to relitigate claims and issues
                   already decided in the State Court Action.
         On the same day Chase moved for entry of judgment following reactivation of the State

Court Action after dismissal of the bankruptcy, Plaintiff filed this action in state court, and Chase

removed. Kono Decl., Exs. 5, 15; Dkt. No. 1. Plaintiff alleges two claims against Chase.3
         First, Plaintiff asserts the same declaratory judgment claim he asserted in his four prior

actions, challenging Chase’s status as holder entitled to enforce the Note. Compl., ¶¶ 67-80.

         Second, Plaintiff asserts a claim for fraudulent misrepresentation. Construing the

Complaint liberally, Plaintiff alleges that on September 6, 2017, Chase recorded a Corporate

Assignment of Deed of Trust to U.S. Bank as trustee for the RMAC Trust, which “was

essentially a late record of a previously-made transaction,” and was otherwise void because the

3
 Plaintiff also asserts a Quiet Title claim and an FDCPA claim against other defendants.
Compl., ¶¶ 56-66; 81-87.

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RMAC Trust “does not exist.” Compl., ¶¶ 43-46. Plaintiff further alleges that in prior cases

between Plaintiff and Chase, including the State Court Action and district court cases discussed

above, Chase “stated that the disputed loan was held in their portfolio and was never

securitized.” Compl., ¶¶ 43-46. Plaintiff claims these statements are “contradicted by the

Corporate Assignment” and, therefore, false. Compl., ¶ 49. Plaintiff alleges that, in reliance on

Chase’s statement, he did not seek continued discovery about whether the Note was securitized

in reliance on Chase’s statement and that, also in reliance on Chase’s statement, the “judges

ruled against Plaintiff.” Compl., ¶¶ 50-51. Plaintiff alleges unspecified damages as a result of
the claimed “fraud.” Compl., ¶ 97.

                                        III.      ARGUMENT

         A.        Legal standard for deciding a motion to dismiss under Rule 12(b)(6).
         Federal Rule of Civil Procedure 8(a)(2) requires a plaintiff to provide “‘a short and plain

statement of the claim showing that [it] … [is] entitled to relief,’ in order to ‘give the

defendant[s] fair notice of what the … claim is and the grounds upon which it rests.’” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555, 1267 S. Ct. 1955 (2007) (quoting Conley v. Gibson,

355 U.S. 41, 47, 78 S. Ct. 99 (1957)).

         The Court should dismiss under Federal Rule of Civil Procedure 12(b)(6) claims that fail
to meet this standard. While these Rules do not require heightened fact pleading, they do require

that a complaint contain sufficient factual allegations, which, accepted as true, state a claim for

relief “‘that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937

(2009) (quoting Twombly, 550 U.S. at 570). Where, however, the plaintiff fails to “nudge[] [his]

claims across the line from conceivable to plausible, [his] complaint must be dismissed.”

Twombly, 550 U.S. at 570. Therefore, to survive a motion to dismiss under Rule 12(b)(6), the

plaintiff must provide more than just “labels and conclusions.” Twombly, 550 U.S. at 555.

Rather, he must provide the grounds of his entitlement to relief; “formulaic recitations of the

elements of a cause of action will not do.” Id. Moreover, “the tenet that a court must accept as
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true all of the allegations contained in a complaint is inapplicable to legal conclusions.” Iqbal,

556 U.S. at 678-79 (“[T]hreadbare recitals of the elements of a cause of action, supported by

mere conclusory statements do not suffice…. [O]nly a complaint that states a plausible claim for

relief survives a motion to dismiss.”). While legal conclusions may establish the complaint’s

basic framework, “they must be supported by factual allegations.” Id. at 679.

         The Court may consider and take judicial notice of prior court filings and official

government and publicly recorded documents on a Rule 12(b)(6) motion without converting the

motion into one for summary judgment. Metzler Inv. GMBH v. Corinthian Colleges, Inc., 540
F.3d 1049, 1064 n.7 (9th Cir. 2008); Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741,

746 n.6 (9th Cir. 2006); Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 199 n.18 (2008)

(judicially noticing facts from Indiana state website); Shaw v. Hahn, 56 F.3d 1128, 1129 n.1 (9th

Cir. 1995) (court may take judicial notice of publicly recorded documents without converting

motion to one for summary judgment). Moreover, the Court may consider documents “whose

contents are alleged in a complaint and whose authenticity no party questions, but which are not

physically attached to the [plaintiff’s] pleading.” Knievel v. ESPN, 393 F.3d 1068, 1076 (9th

Cir. 2005).

         Finally, the court may dismiss a complaint without leave to amend where it is clear
amendment is futile. Havas v. Thorton, 609 F.2d 372, 376 (9th Cir. 1979).

         B.        Claim preclusion bars Plaintiff’s declaratory relief claim.
         The Court should dismiss Plaintiff’s Complaint because Plaintiff already litigated and

lost his declaratory relief claim in the State Court Action, which precludes re-litigation in this

proceeding of that claim (and the many other claims Plaintiff asserted and lost in the State Court

Action). A “federal court must give to a state-court judgment the same preclusive effect as

would be given that judgment under the law of the State in which the judgment was rendered.”

Migra v. Warren City Sch. Dist. Bd. of Educ., 465 U.S. 75, 81 (1984). “Claim preclusion applies

when there is (1) an identity of claims; (2) a final judgment on the merits; and (3) identity or
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privity between the parties.” Garity v. APWU Nat’l Labor Org., 828 F.3d 848, 855 (9th Cir.

2016); see also Ram Tech. Servs., Inc. v. Koresko, 215 Or. App. 449, 457 (2007), opinion

adhered to as modified on reconsideration, 217 Or. App. 463 (2008), rev’d on other grounds,

346 Or. 215 (2009) (“Under both federal and Oregon precedent, a claim is precluded if (1) the

prior litigation involved the same parties, (2) the case concerned issues arising out of the same

transactions, (3) the case proceeded to a final judgment, and (4) the claims in the second case

could have been joined in the first action.”).

         Here, the requirements for claim preclusion are met. The prior and present litigation
involve the same parties, transactions, and claim.4 Chase sued Plaintiff for foreclosure and

Plaintiff counterclaimed, seeking the same declaratory relief he now seeks. The underlying

transaction here and in the State Court Action are identical—both relate to the Note and Deed of

Trust and related foreclosure activity and Plaintiff’s challenge to Chase’s right to enforce the

Note and Deed of Trust and to foreclose. The parties and the claims in the State Court Action

and this case are identical.

         The Order dismissing Plaintiff’s counterclaims in the State Court Action meets the final

requirement for claim preclusion, i.e., that the case proceeded to a final judgment. This Court

must give the state court’s order the preclusive effect that an Oregon state court would. Thus,
this court must ascertain and apply Oregon law. Alvarez v. Chevron Corp., 656 F.3d 925, 932

(9th Cir. 2011). In so doing, the court must look to the state supreme court to discover both what


4
  Plaintiff’s addition of parties in this case does not alter the analysis because the declaratory
judgment claim has been adjudicated as between Plaintiff and Chase. After a plaintiff prosecutes
“one action against a defendant,” claim preclusion prevents a plaintiff, and those in privity with
the plaintiff, “from prosecuting another action against the same defendant.” Rennie v. Freeway
Transport, 294 Or. 319, 323 (1982); see also Coultas v. Payne, 2013 WL 5524139, *3-4 (D. Or.
2010) (finding that prior action between plaintiff and some defendants precluded a later action
between plaintiff and those defendants, even though later action also brought claims against
additional defendants). Additional defendants do not change that Plaintiff has litigated and lost
against Chase.

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the law is and how it should be applied. Johnson v. U.S., 559 U.S. 133, 138 (2010). If the state

supreme court has not spoken on an issue, a federal court may look for guidance to decisions of

the state intermediate appellate court. In re Watts, 298 F.3d 1077, 1082 (9th Cir. 2002). A

federal court must adhere to the decisions of the state intermediate appellate court—unless it

finds convincing evidence that the state supreme court would rule differently. Id.; Fireman’s

Fund Ins. Co. v. N. Pac. Ins. Co., 446 Fed. App’x 909, 912 (9th Cir. 2011). The opinion of a

state intermediate appellate court “is a datum for ascertaining state law[,]” but a court may look

to “other persuasive data that the highest court of the state would decide otherwise.” C.I.R. v.
Bosch’s Estate, 387 U.S. 456, 465 (1967). If a court is persuaded that the state supreme court

would rule differently, it is the duty of the federal court to disregard the decisions of the state

appellate court and rule as would the state supreme court. AE ex rel. Hernandez v. Cnty. of

Tulare, 666 F.3d 631, 639 (9th Cir. 2012).

         Here, Oregon has a preclusion statute, ORS 43.130, which provides that “[t]he effect of a

judgment, decree or final order in an action, suit or proceeding before a court or judge of this

state” is that a “judgment, decree or order is, in respect to the matter directly determined,

conclusive between the parties, their representatives and their successors in interest by title

subsequent to the commencement of the action, suit or proceeding, litigating for the same thing,
under the same title and in the same capacity.” (Emphasis added.) Through ORS 43.130, the

Legislative Assembly has directed that an order that conclusively determines a matter has

preclusive effect regardless whether the determination is reduced to judgment, and the Oregon

Supreme Court has made clear that ORS 43.130 is a “viable statement” of claim preclusion. Van

De Hey v. U.S. Nat’l Bank of Ore., 313 Or. 86, 90 (1992).5

5
  Although some Oregon claim and issue preclusion cases do not mention ORS 43.130, this
statutory claim preclusion coexists with common law claim preclusion:
        The doctrine of claim preclusion, formerly called res judicata, has developed in
        this state both as statutory law and as common law. ORS 43.130 provides that
        certain decisions of a court or judge are conclusive between the parties. Common
        law claim preclusion, however, applies even in some administrative proceedings
        to which the statutory provision does not apply. See Drews v. EBI Companies,
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         Chase does not find Oregon Supreme Court authority that addresses the situation here—

where counterclaims and cross-claims in a multiple party case are fully disposed of, but not

reduced to judgment—particularly where the opposing party prevented the entry of a judgment

by filing bankruptcy just as all claims against all parties are resolved. But under these

circumstances and the plain language of ORS 43.130, the Oregon Supreme Court would give the

Order preclusive effect. The dismissal was on the merits—despite multiple amendments,

Plaintiff failed to state any claim for relief. The Order of dismissal was also final because the

state court dismissed without leave to amend. The state court had dismissed all counterclaims by
Plaintiff, dismissed one defendant at Chase’s request, entered summary judgment against

Plaintiff, and entered an order of default against all other defendants. Kono Decl., Exs. 8-10, 13.

There was nothing left for the state court to do except to enter the judgment. The only reason the

judgment was not entered is that Plaintiff ran to this Court on the very day of the summary

judgment ruling and filed a Chapter 13 bankruptcy petition (later dismissed because Plaintiff

misrepresented compliance with pre-filing counseling requirements and failed to make required

payments under his bankruptcy plan), staying proceedings in the state court. The Oregon

Supreme Court has recognized that “[t]he principal purposes of res judicata are prevention of

harassment of defendants by successive legal proceedings as well as economy of judicial
resources.’” Rennie v. Freeway Transp., 294 Or. 319, 327 (1982) (quoting Dean v. Exotic

Veneers, Inc., 271 Or. 188, 192 (1975)). Allowing the previously dismissed claims to go


         310 Or. 134, 142, 795 P.2d 531 (1990) (workers’ compensation case). But,
         although this court has recognized the existence of the statutory claim preclusion
         (ORS 43.130) and then applied common law preclusion because the statute did
         not apply, see, e.g., North Clackamas School Dist. v. White, 305 Or. 48, 51–52,
         750 P.2d 485, mod. 305 Or. 468, 752 P.2d 1210 (1988) (workers' compensation
         case), the court has applied common law claim preclusion in cases in which the
         statute would appear to apply without mentioning the existence of the statute.
         See, e.g., Rennie v. Freeway Transport, 294 Or. 319, 323, 656 P.2d 919 (1982)
         (litigation involving administration of an estate). Both statements of claim
         preclusion are viable.
Van De Hey, 313 Or. at 90 (1992).

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forward in this fifth successive proceeding—based on the technicality that Plaintiff’s bankruptcy

filing prevented entry of a judgment disposing of the entire state court case—would violate ORS

43.130. It would also encourage Plaintiff’s procedural gamesmanship (i.e., filing bankruptcy

hours after the summary judgment ruling and filing this action hours after the filing of a motion

for entry of judgment in the State Court Action), and allow the re-litigation of claims and waste

of judicial resources claim preclusion seeks to prevent.6

         Indeed, even absent a statute like ORS 43.130, federal courts have moved away from

strict compliance with the final judgment requirement where there is a ruling disposing of all
claims against a party but no entry of a formal judgment because other claims against other

parties remain. For example, the Seventh Circuit has recognized that “a judgment can have the

requisite finality for res judicata purposes even if it is not final for purposes of appeal.” Bell v.

Taylor, 827 F.3d 699, 707 (7th Cir. 2016). In the earlier case given preclusive effect in Bell, the

district court had granted summary judgment on all of Bell’s claims against one defendant

(Taylor), and on Bell’s claims against other defendants on the issue of damages, leaving claims

against some defendants for injunctive relief. Bell appealed, and the Seventh Circuit dismissed

the appeal because the judgment was not final because the district court had not adjudicated the

claims for injunctive relief. Id. at 703-04. Before the claims for injunctive relief were
adjudicated, Bell filed a second lawsuit asserting essentially the same claims. Id. at 704. The

district court dismissed the second lawsuit on res judicata grounds, even though a final judgment

had not yet been entered in the first action. Id. The Seventh Circuit then affirmed the

application of claim preclusion, noting that as against defendant Taylor, the claims had been

6
  In Dohr v. Marquardt, the Oregon Court of Appeals held that the grant of partial summary
judgment, not reduced to a final judgment under ORCP 67B (what would today be a “limited
judgment”), was not a final judgment for claim preclusion purposes because it was subject to
revision before entry of a judgment disposing of all claims. 70 Or. App. 765, 768 (1985). Chase
notes Dohr only in the interest of full disclosure; Dohr did not involve the circumstances here,
where the court adjudicated all claims but the opposing party took action to thwart entry of a
final judgment. Moreover, Dohr was decided more than 30 years ago, and the Oregon Supreme
Court would likely follow the trend of interpreting broadly what constitutes a final judgment for
preclusion purposes.
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disposed of and that disposition was “in no way affected by the court’s later rulings on injunctive

and declaratory relief as to the other defendants.” Id. at 708. The Eight Circuit agrees. Royal

Ins. Co. of Am. v. Kirksville Coll. of Osteopathic Med., Inc., 304 F.3d 804, 808 (8th Cir. 2002).

         Federal commentators also agree. Moore’s states that “in a multiparty case, a final ruling

on the claims pertaining to one party can have claim-preclusive effect, even though a final

judgment will not be entered until claims involving other parties are finally disposed of.” See 18

Moore’s Fed. Prac., § 131.30[2][b] (Matthew Bender 3d ed.). And Wright, Miller, and Cooper

note:

         It can be argued that an attempt to enter a final judgment that is not
         authorized by Rule 54(b) should fail for purposes of preclusion in the
         same way that it may fail for purposes of appeal. It would be better,
         however, to follow different rules in these different settings. Preclusion
         seems warranted so long as the court clearly intended to terminate all
         proceedings as to the claims or parties involved and no attempt to appeal
         was thwarted by a ruling that judgment had been entered improperly.
18A Charles Alan Wright, Arthur R. Miller & Edward H. Cooper, Fed. Prac. & Proc.: Juris. 2d

§ 4432, pp. 59-60 (2d ed. 2002). Consistent with the developing federal jurisprudence and the

policy reasons identified above, and the express language of ORS 43.130, the Oregon Supreme

Court would give the state court Order dismissing Plaintiff’s case preclusive effect here.

Therefore, the Court should dismiss Plaintiff’s declaratory judgment claim with prejudice as
barred by claim preclusion.

         C.        Issue preclusion bars Plaintiff’s claims.
         The Court should dismiss Plaintiff’s declaratory judgment and fraud claims because the

issue at the heart of both claims—the right to enforce the Note—was litigated and determined in

the State Court Action between the parties and thus issue preclusion bars Plaintiff’s claims.

         “[F]ederal courts have consistently accorded preclusive effect to issues decided by state

court, thereby promoting comity between state and federal courts.” Vityukov v. Chase Bankcard

Servs., Inc., 2010 WL 2812761, *3 (D. Or. 2010), report and recommendation adopted, 2010

WL 2812759 (D. Or. 2010). Federal courts “must apply state law in determining the extent of
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preclusion” involving a determination by a state court. Valley Wood Preserving, Inc. v. Paul,

785 F.2d 751, 753 (9th Cir. 1986); see also Zielinski v. Deihl, 2011 WL 7422503, *2 (D. Or.

2011), report and recommendation adopted, 2012 WL 629516 (D. Or. 2012) (“The state’s law

regarding issue preclusion determines the preclusive effect of a state court action on a subsequent

federal court action.”). Plaintiff may not litigate an issue from a prior proceeding in a subsequent

proceeding when: (1) the issues are identical; (2) the issue was actually litigated and essential to

a final decision on the merits; (3) the party sought to be precluded has had a full and fair

opportunity to be heard on the issue; (4) the party sought to be precluded was a party, or in
privity with a party, to the prior proceeding; and (5) the prior proceeding was the type of

proceeding to which the court will give preclusive effect. Barackman v. Anderson, 338 Or. 365,

368 (2005); see also Benafel v. United States Dep’t of Trans., 2016 WL 4367246, *3 (D. Or.

2016), aff’d sub nom. Benafel v. Williams Nw. Pipeline, 750 F. App’x 530 (9th Cir. 2018)

(same). “[T]he party asserting issue preclusion bears the burden of proof on the first, second,

and fourth factors, after which the party against whom preclusion is asserted has the burden on

the third and fifth factors.” Barackman v. Anderson, 214 Or. App. 660, 667 (2007).

         All five factors are met here. Plaintiff was a party to the State Court Action, he had a full

and fair opportunity to be heard (through multiple motions to dismiss and opportunities to amend
his counterclaims before the final dismissal and by opposing summary judgment), and the State

Court Action is the type of proceeding giving rise to preclusive effect.7 See Vityukov, 2010 WL

2812761, *3 (“[A] circuit court decision is the type of proceeding where this court would

acknowledge preclusive effect.”).



7
  Any argument that Plaintiff’s pro se status has deprived him of a full and fair opportunity to be
heard is irrelevant because pro se status does not affect the “full and fair opportunity to litigate”
element of issue preclusion. See In re Yu, 545 B.R. 633, 640 (Bankr. C.D. Cal. 2016), aff’d sub
nom. In re Chunchai Yu, 2016 WL 4261655 (B.A.P. 9th Cir. 2016), aff’d, 694 F. App’x 542 (9th
Cir. 2017); see also Rainwater v. Banales, 2008 WL 5233138, at *5 (C.D. Cal. 2008) (“The mere
fact that Plaintiff was litigating pro se does not show he lacked a full and fair opportunity to
litigate [in the first action].”).
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         The first and second factors are also met because the issues Plaintiff litigated in the State

Court Action and the issues Plaintiff raises in his fraud claim are identical and were actually

litigated to a final decision on the merits. The issues are identical because the State Court Action

and Plaintiff’s present claims require a determination of whether Chase had the right to enforce

the Note. In the State Court Action, Chase sought summary judgment on its foreclosure claim,

arguing it had the right to enforce the Note. Kono Decl., Ex. 11, pp. 4-5. Plaintiff opposed

summary judgment by arguing that Chase did not have the right to enforce the Note. Kono

Decl., Ex. 12, pp. 3-5. Plaintiff’s declaratory judgment claim attempts to challenge again the
right to enforce the Note. Plaintiff’s fraud claim alleges that Chase fraudulently misrepresented

whether the Note was securitized, causing Plaintiff to “not seek further discovery about the

securitization and about whether [Chase] still owned the note,” and that, “[i]n fact, [Chase] did

not own the note.” Compl., ¶ 48-52. (Emphasis added). The essence of Plaintiff’s fraud claim

is that Chase did not have the right to enforce the Note because if, as Plaintiff alleges, Chase did

not own the Note, Plaintiff argues Chase would not have the right to enforce it. The State Court

Action adjudicated the core issue underlying Plaintiff’s declaratory judgment and fraud claims

and issue preclusion bars relitigation of that issue.

         That Chase’s right to enforce the Note was not analyzed as part of a fraud claim in the
State Court Action (or specific to securitization) does not change the analysis. In Vityukov, the

defendant obtained a default judgment to collect a debt against the plaintiff in Oregon state court.

2010 WL 2812761, *3. The plaintiff later sued in this Court, alleging unfair debt collection

practices. Id. The Court found that the defendant’s “debt collection action against [plaintiff] and

[plaintiff’s] current action arise from identical issues—the collection of a debt owed by

[plaintiff] to [defendant].” Id. Likewise, in O’Connell-Babcock v. Multnomah County, the

plaintiff’s state court action focused on whether the defendant violated her right to free speech

under the Oregon Constitution when it excluded her from a county building. 2009 WL 1139441,

*6 (D. Or. 2009). Plaintiff’s subsequent federal action focused on whether the defendant
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violated her constitutional rights under 42 U.S.C. §1983. The court found that “although the

rights conferred by the state and federal constitutions are substantially similar, they are not

identical.” Id. at *6. Nevertheless, the court held that the “issue presented in the state court was

not whether the defendants violated the Oregon Constitution, but whether they had excluded

[p]laintiff from [county] facilities for protected speech or for conduct.” Id. The court found that

the state court “specifically determined that [p]laintiff’s exclusion was not based on protected

speech,” which precluded plaintiff from establishing a freedom of speech violation under the

Oregon or federal constitution. Id.
         Here, as in Vituykov and O’Connell, Plaintiff’s claims and the State Court Action involve

the identical issue—whether Chase has the right to enforce the Note. Regardless the specific

claim in which Plaintiff raises the issue (or the specific reason Plaintiff argues Chase cannot

enforce the Note), that issue was actually litigated in the State Court Action on summary

judgment and was essential to the state court’s decision on the merits. A finding that Chase has

the right to enforce the Note was required to find that Chase had the right to foreclose. And the

Court should treat the order on summary judgment as a final determination for the reasons

described above—all that was left was for the State Court to enter a judgment on its ruling,

which Plaintiff thwarted by racing to bankruptcy court on the same day as the summary
judgment ruling. But a state court Order is a final decision on the merits for issue preclusion

purposes. ORS 43.130(2); Clawson v. Prouty, 215 Or. 244, 253 (1959) (finding that state court

order voiding sheriff’s sale of property was conclusive and precluded subsequent litigation over

validity of sale); see also Westwood Const. Co. v. Hallmark Inns & Resorts, Inc., 182 Or. App.

624, 634-36 (2002) (giving preclusive effect to issues decided in connection with arbitration

award); State v. Ipsen, 288 Or. App. 402, 406 (2017) (finding that trial court order on motion to

suppress evidence was essential to final determination on the merits because it was necessary to

judgment of conviction and barred relitigation of the motion to suppress). Issue preclusion bars

Plaintiff’s claims and the Court should dismiss them with prejudice.
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         D.        The Court should dismiss Plaintiff’s Complaint because Plaintiff fails to state
                   any claim against Chase.
         If the Court does not dismiss Plaintiff’s claims on claim and issue preclusion grounds, the

Court should dismiss Plaintiff’s declaratory relief and fraud claims against Chase for failure to

state a claim.

                   1.       Plaintiff does not state a declaratory judgment claim because no
                            justiciable controversy exists.
         Plaintiff’s declaratory judgment claim fails to state a claim because there is no justiciable

controversy. Before a court will “entertain an action for declaratory relief, the complaint must
present a justiciable controversy—that is, an actual and substantial controversy between parties

having adverse legal interests that results in specific relief through a binding decree.” Berg v.

Hirschy, 206 Or. App. 472, 475 (2006). The controversy must involve “present facts, not future

events or hypothetical issues,” it is not enough if “the rights of the plaintiff are contingent on the

happening of some event that cannot be forecast and that may never take place.” Id. Lack of a

justiciable controversy implicates the court’s subject matter jurisdiction. Johnson v. Miller, 113

Or. App. 98, 100 (1992); MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007) (dispute

must “be definite and concrete, touching the legal relations of parties having adverse legal

interests; and that it be real and substantial and admit of specific relief through a decree of a

conclusive character”).
         Here, Plaintiff seeks “a declaration that Defendants are not the owner or holder of any

Note encumbering the Property; that Defendants have no secured interest in Plaintiff’s property;

and that Plaintiff has no legal relationship with Defendants.” Compl. ¶ 68. Plaintiff also seeks a

declaration that “Defendants are not protected by Holder in Due Course Doctrine” because

Defendants either had “notice of the issues present in the mortgages,” or improperly endorsed the

Note. Compl. ¶¶ 69-73. But Plaintiff bases the claim on the incorrect notion that a non-judicial

foreclosure is pending. Compl., ¶ 78 (claiming a due process right to “a hearing before

Defendant may take Plaintiff’s property by non-judicial foreclosure claim). That is because

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Plaintiff’s declaratory judgment claim is a cut-and-paste of the declaratory judgment claims

Plaintiff filed in 2012 and 2013, before the State Court Action that established Chase’s right to

foreclose. Compare Compl., ¶¶ 68-79 with Kono Decl., Ex. 2 ¶¶ 14-24 and Ex. 3 ¶¶ 99-111.

There is no nonjudicial foreclosure alleged or pending, and the State Court Action decided the

issues Plaintiff alleges. Plaintiff thus does not allege a justiciable controversy.

         In fact, in the State Court Action, Plaintiff admitted and affirmatively alleged that Chase

was the loan servicer. Kono Decl., Ex. 7 ¶¶ 4-5. As servicer, Chase had the power to foreclose

without regard to who owned the Note or whether the loan was securitized. ORS 86A.175(1),
(3)(e)(C) (“With the permission of the lender, note owner, note holder, or other holder of an

interest in a note, a mortgage banker[ ] … may service or collect a … mortgage loan in the name

of the mortgage banker … or in the name of the lender, note owner, note holder or other holder

of an interest in the note,” including “[b]ringing and maintaining a suit or action to collect

amounts owed on a mortgage banking loan or mortgage loan, including but not limited to

exercising contractual, statutory or common law remedies such as injunction, specific

performance, judicial or nonjudicial foreclosure or receivership”).8 There is no justiciable

controversy because Plaintiff has admitted Chase’s power to foreclose, regardless who is

“Holder in Due Course.”
         Plaintiff also fails to present a justiciable controversy because securitization is irrelevant

to the right to foreclose. Plaintiff seeks a declaration that “Defendants are not protected by the

Holder in Due Course doctrine” because “Defendants had notice of the issues present in the

mortgages held by the businesses they acquired.” Compl., ¶¶ 69, 72. Plaintiff’s sole support for

this allegation is a vague story about mortgage backed securities and credit default swaps, and

undefined “borrowers” being “misled and lied to in order to lure them into these loans.” Id. ¶ 70.


8
 For purposes of ORS 86A.175, “mortgage banker” includes persons and entities that service
mortgage loans for compensation, including institutions like Chase. See ORS 86A.175(3)(a).

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But securitization is irrelevant to the right to foreclose. To foreclose, Chase only needed to

prove, as it did in the State Court Action, that it was the holder of the Note (or the servicer

entitled to foreclose); securitization is irrelevant to whether Chase held the Note, possession of

which indorsed in blank entitles Chase to foreclose. Deutsche Bank Trust Co. Americas v.

Walmsley, 277 Or. App. 690, 695-96 (2016) (rejecting focus on securitization and noting that

“[i]n the context of judicial foreclosure on a negotiable instrument such as a promissory note

secured by a trust deed or mortgage, the power to enforce the underlying note is established by

ORS 73.0301 (UCC § 3–301)”); Horner v. Plaza Home Mortg., Inc., 2016 WL 3574551, *4
(D. Or. 2016) (“Additionally, courts in this District have repeatedly rejected the argument that a

loan is unenforceable because a loan has been securitized.”).9

         Finally, Plaintiff asks the Court to “require Defendants to prove that the transfer and

endorsement [sic] of the notes were proper before allowing them to enforce rights as the new

holder of the notes.” Compl., ¶ 73. That is not a request to declare the legal rights and

relationships of the parties, and in any event, Plaintiff has already litigated and lost that issue in

the State Court Action. The Court should dismiss Plaintiff’s declaratory judgment claim with

prejudice as to Chase.

                   2.       Plaintiff’s fraud claim fails for lack of particularity, lack of a material
                            misrepresentation, and lack of harm caused by any misrepresentation.
         Plaintiff’s fraud claim fails because he does not plead the claim with particularity as Fed.

R. Civ. P. 9(b) requires and because Plaintiff does not plead plausible facts meeting the required


9
 In Walmsley, the Oregon Court of Appeals also rejected any claim based on the lender’s
compliance with securitization documents:
       Furthermore, we reject defendant’s contentions that claimed discrepancies
       relating to plaintiff's compliance with separate contracts pertaining to the
       securitization of the loan—to which defendant was neither a party nor a
       beneficiary—negate plaintiff's ability to enforce the note through judicial
       foreclosure, once the requisites for judicial foreclosure, including plaintiff’s
       status as the holder of the note, had been established.
Walmsley, 277 Or. App. at 692.

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elements. Compl., ¶¶ 89-97. “Averments of fraud must be accompanied by the who, what,

when, where, and how of the misconduct charged.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d

1097, 1106 (9th Cir. 2003). The only specific statement Plaintiff alleges is Chase’s response to

a request for admission on May 8, 2017, saying that the loan was not securitized. Compl., ¶ 48.

Given that Plaintiff alleges the loan was securitized no later than 2016, Compl., ¶ 30, Plaintiff’s

fraud claim is time-barred to the extent it is based on alleged statements as to which Plaintiff

discovered the alleged falsity before July 12, 2017—such as the response to the request for

admissions relating to securitization. Plaintiff cannot avoid the statute of limitations by ignoring
pleading requirements. The Court should dismiss Plaintiff’s fraud claim for failing to plead with

the required particularity.

         Plaintiff’s claim also fails because Plaintiff has not stated and cannot state sufficient facts

for each element of a fraud claim. “The essential elements of a common-law fraud claim are:

[1] the defendant made a material misrepresentation that was false; [2] the defendant did so

knowing that the representation was false; [3] the defendant intended the plaintiff to rely on the

misrepresentation; [4] the plaintiff justifiably relied on the misrepresentation; and [5] the plaintiff

was damaged as a result of that reliance.” Strawn v. Farmers Ins. Co. of Ore., 350 Or. 336, 351-

52 (2011), adh’d to on recons, 350 Or. 521 (2011). Plaintiff fails to state a fraud claim because
he offers little more than a formulaic recitation of these elements. See Compl., ¶¶ 89-97.

         Further, any statement that the loan was not securitized, even if inaccurate, was not a

material misrepresentation because securitization is irrelevant to the right to enforce the Note.

Plaintiff alleges securitization is material because he says that “after securitization, the only one

who has the right to foreclose is the Trustee of the securitization trust[.]” Compl., ¶ 91. That

improper legal conclusion is incorrect. Securitization does not affect who is entitled to foreclose.

Walmsley, 277 Or. App. at 695-96; Horner 2016 WL 3574551, *4; Niranjan v. Bank of Am.,

N.A., 2013 WL 1701602, *2 (N.D. Cal. 2013). Plaintiff cannot state a fraud claim based on

statements about securitization because any such statement is immaterial. See Goobeck v. Wells
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Fargo Bank, N.A., 2013 WL 4045902, *3 (D. Nev. 2013) (dismissing borrowers’ fraud claim

because the “[p]laintiffs[’] fraud arguments all focus on the securitization, which is irrelevant for

plaintiffs”).

         Plaintiff’s fraud claim fails for the additional reason that Plaintiff does not allege that any

alleged misrepresentation caused him harm. Because securitization is irrelevant to the right to

enforce the Note, reliance on the alleged misrepresentation cannot have harmed him. Had

Plaintiff known the loan was securitized and presented that evidence in the State Court Action,

the state court still would have granted Chase summary judgment because the state court had
satisfied itself that Chase possessed the Note indorsed in blank and was entitled to enforce the

Note and Deed of Trust—and also because Plaintiff admitted Chase had servicing rights, which

include the right to foreclose. There was no reasonable reliance and no causation.

         Finally, Plaintiff fails to allege the required element of harm. Plaintiff alleges only that

he was “damaged in an amount to be determined at trial.” Compl., ¶ 97. But the harm Plaintiff

alleges is the state court ruling in favor of Chase. Compl., ¶ 95. That is not recoverable harm;

that is an improper collateral attack on a state court ruling. The Court should dismiss Plaintiff’s

fraud claim for failure to state a claim and should dismiss with prejudice because Plaintiff cannot

amend to state a claim. Havas v. Thorton, 609 F.2d 372, 376 (9th Cir. 1979).




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                                     IV.       CONCLUSION
         The Court should dismiss Plaintiff’s Complaint with prejudice as barred by claim and

issue preclusion and for failure to state any claim against Chase because Plaintiff cannot cure the

deficiencies in his Complaint by amendment.

         DATED this 13th day of September 2019.

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                                    CERTIFICATE OF SERVICE

         I hereby certify that I served a copy of the foregoing Motion to Dismiss on:

                   Dennis Raybould
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                   (541) 997-1311
                   Plaintiff in Pro Se

               by mailing a copy thereof in a sealed, first-class postage prepaid envelope,
addressed to said attorney’s last-known address and deposited in the U.S. mail at Portland,
Oregon on the date set forth below;

             by causing a copy thereof to be hand-delivered to said attorney’s address as
shown above on the date set forth below;

               by sending a copy thereof via overnight courier in a sealed, prepaid envelope,
addressed to said attorney’s last-known address on the date set forth below;

                by faxing a copy thereof to said attorney at his/her last-known facsimile number
on the date set forth below; or

               by emailing a copy thereof to said attorney at his/her last-known email address as
set forth above.

              by using electronic transmission of a notice of filing by the electronic filing
system provided by the Oregon Judicial Department, Odyssey File and Serve.

         Dated this 13th day of September 2019.

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